Case 1:19-cv-00510-RMR-MEH Document 56 Filed 12/07/21 USDC Colorado Page 1 of 17




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:19-cv-00510-RMR-MEH
   ______________________________________________________________________________

   OTTER PRODUCTS, LLC and
   TREEFROG DEVELOPMENTS, INC.,

           Plaintiffs/Counter-Defendants,

   v.

   TRIPLENET PRICING, INC, et al.,

           Defendants/Counter-Claimant,

           and

   TRIPLENET PRICING LLC,
   ERIC SYPES, and
   JOHN DOES 1-10, individually or as corporate/business entities,


        DEFENDANTS’ MOTION FOR RECONSIDERATION OF SUMMARY JUDGMENT
                                   ORDER
Case 1:19-cv-00510-RMR-MEH Document 56 Filed 12/07/21 USDC Colorado Page 2 of 17




          Defendants Triplenet Pricing, Inc. and Triplenet Pricing, LLC (collectively, “Triplenet”)

   move this Court for Reconsideration of the Court’s November 10, 2021 Order Granting Plaintiffs

   Otter Products, LLC and TreeFrog Developments, Inc. (collectively “Plaintiffs”) Motion for

   Partial Summary Judgment. (ECF 54, “SJ Order”).

   I.     INTRODUCTION

          The Court’s SJ Order granted a summary judgment with respect to Plaintiffs’ claims of

   trademark infringement, unfair competition, false advertising and the Colorado Consumer

   Protection Act (“CCPA”). Reconsideration is warranted because (1) Plaintiffs failed to disclose

   this Court’s conflicting order in a co-pending case based on the same facts; (2) Plaintiffs withheld

   relevant evidence from Triplenet; and (3) the Court made findings on hotly contested factual

   disputes.

          Triplenet is a reseller of original, authentic and unaltered Otter products. Triplenet sells

   Otter products through the internet, including its online Amazon.com storefront. As indicated in

   the Declaration of Yisroel Blackman, Triplenet’s shareholder, these products are offered as

   “genuine and authentic Otter products obtained directly from Ingram [Micro],” one of Otter’s

   Authorized Distributors. (ECF 44-1). The simple resale of such products is not a violation of any

   law; rather it is the basis of free-trade and healthy competition.

          Plaintiffs’ primary argument is support of its claims is that the “first-sale doctrine” does

   not apply because Plaintiffs do not honor their warranty (“Otter Warranty”) when a product is

   purchased from an “unauthorized” retailer (i.e., a seller that has not signed a particular reseller

   agreement). Triplenet challenged this assertion on multiple grounds, including that none of

   Plaintiffs’ packaging contain any notice that Plaintiffs will repudiate their warranty if the product



                                                     1
Case 1:19-cv-00510-RMR-MEH Document 56 Filed 12/07/21 USDC Colorado Page 3 of 17




   is purchased from an unauthorized seller. (ECF 44-1, Par. 4). The validity of the Otter Warranty

   and the more elemental question of whether such a warranty is even material to consumers are just

   a few of the issues that were disputes here. And, as it turns out, these same issues had been the

   focus of a summary judgment order issued by Judge Ebel in a related case, Otter Products, LLC,

   and Treefrog Developments, Inc. v. Big Birds, LLC, et al., Case 1:19-cv-00626-DME-KLM (“Big

   Birds Case”), (“Ebel Order,” Exhibit 1) just weeks before the SJ Order was issued. Unbelievably,

   Plaintiffs did not bring the Ebel Order to the Court’s or Triplenet’s attention, even as the Parties

   here prepared and filed their Proposed Pretrial Order.

          The Ebel Order, considering the same facts and arguments as here, denied summary

   judgment and concluded that there were factual issues that must be presented to a jury. Had

   Plaintiffs not intentionally hid the ball, it is respectfully submitted that the outcome herein would

   have been markedly different. In fact, Judge Ebel’s decision essentially identifies a number of

   issues to be submitted to a jury in the Big Birds action that are also applicable to Triplenet as well.

   Accordingly, and in light of Judge Ebel’s decision, it is respectfully requested that the Court set

   aside the SJ Order and reconsider it in light of the decision and findings in the Big Birds case.

          For the reasons discussed herein, Triplenet respectfully requests that the Court set aside the

   SJ Order and allow this case to proceed to trial on all of Plaintiffs’ claims.

   II.    RECONSIDERATION STANDARD

          “The District Court’s partial summary judgment ruling was not a final judgment.” Fye v.

   Oklahoma Corp. Comm’n, 516 F.3d 1217, 1224 n.2 (10th Cir. 2008). Therefore, the SJ Order is

   considered “an interlocutory motion invoking the district court’s general discretionary authority to

   review and revise interlocutory rulings prior to entry of final judgment.” Wagoner v. Wagoner,



                                                     2
Case 1:19-cv-00510-RMR-MEH Document 56 Filed 12/07/21 USDC Colorado Page 4 of 17




   938 F.2d 1120, 1122 n.1 (10th Cir.1991).

          Grounds warranting a motion to reconsider include (1) an intervening change in the

   controlling law, (2) new evidence previously unavailable, and (3) the need to correct clear error or

   prevent manifest injustice. Servants of the Paraclete v. Does, 204 F.3d 1005, 1012 (10th Cir. 2000).

   Thus, a motion for reconsideration is appropriate where the court has misapprehended the facts, a

   party’s position, or the controlling law. Id.

   III.   THE FACTS AND CIRCUMSTANCES OF BOTH THE TRIPLENET AND BIG
          BIRDS CASES ARE THE SAME

          A comparison of Plaintiffs’ Complaint in this case (ECF 1), with that in the Big Birds Case

   (Ex. 2), shows that they are the same. When compared side by side, these complaints reveal

   themselves to be boiler plate documents, except for the difference in the respective parties in each

   case. Likewise, in both cases, Defendants’ respective answers and defenses are nearly identical—

   the affirmative defenses in both these answers critically rely upon the First Sale Doctrine as well

   as upon the fact that the accused products being sold by the Defendants do not differ in any manner

   than those sold by Plaintiffs.1

          Not surprisingly, the Parties’ summary judgment arguments mirror each other as well,

   advancing the same claims and defenses. Nevertheless, the decisions rendered in this case and the

   Big Birds Case drastically diverge. In fact, the findings are contradictory despite the allegations

   of the pleadings all of which stem from practically the same set of facts and circumstances and are

   all basically the same. Accordingly, had the Big Birds decision been brought to the attention of


   1
    As noted, Triplenet sources and purchases Plaintiffs’ products only from Plaintiffs’ Authorized
   Distributor (Ingram MicroTech). Thus, the lineage of Plaintiffs’ products as sold by Triplenet is
   undeniable with a pedigree that is unassailable.



                                                    3
Case 1:19-cv-00510-RMR-MEH Document 56 Filed 12/07/21 USDC Colorado Page 5 of 17




   this court, it is respectfully submitted that the outcome of Triplenet would have been significantly

   different.2

   IV.     RECONSIDERATION SHOULD BE GRANTED

                 a. Whether or Not Triplenet Is Selling “Materially Different” Otter Products Is
                    a Question for a Jury

                        i. Triplenet Asserts that Its Otter Products Are Covered by a Warranty

           Plaintiffs’ main argument in this case is that the Otter products sold by Triplenet are

   “materially different” from those sold by Triplenet because those sold by Triplenet do not include

   the Otter warranty. Triplenet always disputed this contention:

           “Any and all subject goods herein sold by defendants, if any, are genuine, sold in
           sealed and unopened packages, each included with an original warranty issued by
           the plaintiffs or manufacturers, the plaintiffs’ suit, thus, being barred the First Sale
           Doctrine.”

   (ECF 30 at ¶351). Likewise, in opposition to Otter’s motion for summary judgment, Triplenet

   vehemently disputed the factual basis for Plaintiffs’ assertion:

           18. None of the Otterbox products sold by Ingram have any notification printed on
           the outside thereof that the warranty is conditional and subject to repudiation by the
           plaintiff.

           19. No notifications of any kind are given by Ingram to the purchasers of plaintiff’s
           products, either on its invoices or by any other means, that Otter warranty is
           conditional and subject to withdrawal or repudiation by the plaintiff.

   (ECF 44, “Opp’n,” at 5). These assertions were supported by documents and testimony,

   demonstrating that, notwithstanding Plaintiffs’ self-serving assertions, all Otter products do in fact


   2
     When the Triplenet complaint was originally filed by the Plaintiff, and since coming under
   practically the same set of facts and circumstances as its Big Birds case that had previously been
   assigned to Judge Ebel, Triplenet should have been designated as being a “related case” and
   referred to Judge Ebel. Instead, we now have two contradictory opinions arising out of the same
   set of facts.

                                                      4
Case 1:19-cv-00510-RMR-MEH Document 56 Filed 12/07/21 USDC Colorado Page 6 of 17




   come with a warranty, irrespective of the retailer. (See, e.g., ECF 44-1 ¶4 (“The Otter products

   come with an Otter Warranty that is included in each box.”).

          In the Big Birds Case, the Parties advanced similar arguments. Indeed, there, Plaintiffs

   conceded that its warranty argument is mostly wordplay (because it covers the purportedly

   “unauthorized” product) and, therefore, Judge Ebel found that there would be no consumer

   confusion as a result:

          Otter describes this [online warranty] process as denying the warranty claim on the
          unauthorized product and then exercising its discretion to cover it anyway. But
          Otter acknowledges that the consumer is unaware of any of this and only knows
          that Otter covered its warranty claim. That process would not cause consumer
          confusion.

   (Ebel Order at 11-12). “Based on this evidence, a reasonable jury could find that, although Otter

   says its manufacturer’s warranty does not cover products purchased from unauthorized sellers,

   Otter actually covers those unauthorized purchases.” (Id. at 12).

          Triplenet respectfully submits that this Court’s SJ Order mistakenly found that “Otter has

   cited to uncontradicted evidence establishing that the products sold by Triplenet are not covered

   by the Otter Warranty.” (SJ Order at 8). This was a disputed fact. As such, as Judge Ebel

   concluded, “[a] jury will have to resolve whether the Otter products [an unauthorized seller] is

   reselling are actually different from the products Otter sells through its authorized distribution

   network.” (Ebel Order at 13).

                      ii. Triplenet Disputed the Materiality of the Warranty

          A “difference” between products, standing alone, is not sufficient to warrant a finding of

   infringement—the difference must be “material.” “[A] difference is [only] material if ‘consumers

   [would] consider [it] relevant to a decision about whether to purchase a product.’” Beltronics USA,



                                                    5
Case 1:19-cv-00510-RMR-MEH Document 56 Filed 12/07/21 USDC Colorado Page 7 of 17




   Inc. v. Midwest Inventory Distrib., LLC, 562 F.3d 1067, 1073 (10th Cir. 2009) (quoting Davidoff

   & CIE, S.A. v. PLD Int’l Corp., 263 F.3d 1297, 1302 (11th Cir. 2001)).

          In this regard, the SJ Order states that Plaintiffs “cited to survey evidence suggesting that

   more than 85% of respondents reported that they were ‘much more likely’ or ‘somewhat more

   likely’ to purchase an Otter Product on Amazon if the product included the manufacturer’s

   warranty.” (SJ Order at 8). But the referenced survey was directed only to whether consumers

   could distinguish between a product being offered on an Amazon listing by an “authorized” vs. an

   “unauthorized” reseller, a legally irrelevant question. Specifically, “the unauthorized sale of a

   trademarked article does not, without more, constitute a Lanham Act violation.” H.L. Hayden Co.

   of N.Y. v. Siemens Med. Sys., Inc., 879 F.2d 1005, 1023 (2d Cir. 1989). Factually, Plaintiffs’ expert

   did not conduct any survey on the issue of materiality and did not conduct any survey in connection

   with any products sold by Triplenet. (See ECF 41-18, p. 4 (“I could not directly investigate

   consumer expectations in response to a listing from Triplenet.”); id. at p. 37-45 (failing to provide

   any details to participants regarding the warranty)).

          The SJ Order asserts that “Triplenet does not dispute that the applicability of the Otter

   Warranty is material” and “argues instead that a material difference cannot exist here because the

   Otter Warranty is invalid.” (SJ Order at 8). But Triplenet has vigorously disputed the materiality

   of the warranty from the outset of this litigation, including in its opposition to summary judgment.

          Triplenet did not simply “ask the court to hold” that the Otter warranty is invalid, but rather

   “deny its use as a pretext to overcome the first sale doctrine.” (Opp’n at 11). Triplenet alleges

   that consumers would never see the actual terms of the Otter warranty, which are buried in

   miniscule print inside of a sealed box. (Opp’n at 11). And, as such, Triplenet contends that the



                                                    6
Case 1:19-cv-00510-RMR-MEH Document 56 Filed 12/07/21 USDC Colorado Page 8 of 17




   warranty could not be material to consumers at the time of purchase. (Id. (Plaintiffs “should be

   precluded from claiming that the lack thereof is a “material difference” between its product and

   the same product as sold by [Triplenet].”) Triplenet cited the Colorado statutes concerning the

   implied warranty of merchantability (Colo. Rev. Stat. § 4-2-314) and modification of warranties

   (Colo. Rev. Stat. § 4-2-316) to illustrate that meaningful warranties must be “conspicuous.” (Id.).

   The materiality of the Otter warranty is a factual question for a jury. (Ebel Order at 13 n.10 (noting

   that “it seems undeniable that materiality would have at least a strong factual component”).

           In the Bird Birds Case, the defendants, like Triplenet, offered evidence tending to show

   that the warranty was not material consumers.          Like Triplenet, the Big Birds defendants

   demonstrated that consumers would be unaware of the Otter warranty. (Ebel Order at 11). Judge

   Ebel acknowledged that “Otter does not identify publicly who is an authorized Otter products

   seller,” “[s]o there is no way for a consumer to know before buying an Otter product on Amazon

   whether he is buying from an authorized Otter seller.” (Id.). Coupled with the fact that warranty

   terms are, as Triplenet asserts, not “conspicuous,” a jury could conclude that the alleged warranty

   is not material.

           Here, “Otter has asserted evidence that the existence of a manufacturer’s warranty is

   material, and [Triplenet] has submitted contrary evidence.” (Id. at 13). “That is sufficient to defeat

   summary judgment for either party.” (Id.). Accordingly, this case should proceed to trial on the

   alleged differences between the relevant products, and the materiality of such differences.

               b. Whether Otter’s Alleged Quality Controls Render Triplenet’s Products Non-
                  Genuine, Is a Factual Issue for the Jury

           The SJ Order found that, “[e]ven if the material difference exception did not apply, Otter

   would still be entitled to summary judgment under the quality control exception to the first sale


                                                     7
Case 1:19-cv-00510-RMR-MEH Document 56 Filed 12/07/21 USDC Colorado Page 9 of 17




   doctrine.” (SJ Order at 10). In doing so, the Court plainly engaged in fact finding, crediting the

   evidence offered by Plaintiffs and ignoring the substantial evidence offered by Triplenet. Here too,

   the Ebel Order reached the opposite conclusion on the same facts and arguments. (Ebel Order 14-

   21).

          To establish the applicability of the quality control exception to the first sale doctrine,

   Plaintiffs must demonstrate that (i) they have established legitimate, substantial, and nonpretextual

   quality control procedures, (ii) they abide by these procedures, and (iii) the nonconforming sales

   by Triplenet will diminish the value of Plaintiffs’ trademark. (SJ Order at 10). Triplenet disputed

   each of these elements (Opp’n at 8-10).

                       i. There Are Factual Disputes as to Whether the Alleged Quality
                          Controls are Legitimate, Substantial, and Nonpretextual

          Triplenet provided evidence disputing each of these elements (Opp’n at 8-10). With respect

   to element (i), the Court accepted Plaintiffs’ claim that “Authorized Sellers must agree to follow

   Otter instructions regarding shipping and handling Otter Products, product inspection, removal of

   damaged goods, reporting to Otter any product damages or defects, and product display

   requirements,” as somehow satisfying each of the three requirements that Plaintiffs’ purported

   quality controls are “legitimate, substantial, and nonpretextual.” (SJ Order at 10). But these are

   distinct requirements, none of which is satisfied here and, at a minimum, are disputed factual issues

   for the jury. (See Ebel Order at 16 (holding that “[w]hether Otter’s quality controls at issue here

   are legitimate, substantial and non-pretextual is a question of fact usually for the jury”); See Alcon

   Vision, LLC v. Lens.com, Inc., No. 18-CV-407 (NG), 2020 WL 5899879, at *19 (E.D.N.Y. Feb.

   28, 2020) (“whether a quality control measure is pretextual is a factual question”), adopted, 2020

   WL 3989492 (E.D.N.Y. July 15, 2020).


                                                     8
Case 1:19-cv-00510-RMR-MEH Document 56 Filed 12/07/21 USDC Colorado Page 10 of 17




           In Opposition to summary judgment, Triplenet marched through each of the alleged quality

   controls and, citing the deposition testimony of Plaintiffs’ witness (Kevin McPherson), explained

   why they were meaningless. For example, Triplenet cited testimony where McPherson admitted

   that Plaintiffs do not know whether their major resellers—Walmart, Best Buy, Target and

   Amazon—follow the alleged quality controls. (Opp’n at 8; see also ECF 41-10, McPherson Tr. at

   9-10 (testifying that Plaintiffs do not inspect how Otter products are stored by Walmart, Best Buy

   and Target, which comprise over 35,000 stores)). Triplenet also disputed, with evidence, Plaintiffs’

   purported quality controls with respect to storage and handling (Opp’n at 8), recalls and safety

   issues (id. at 9), relabeling, repackaging and altering products (id.). More globally, Triplenet

   contends that Plaintiffs are using these quality controls “to maintain its pricing and to keep those

   who would only benefit the consumer totally shut out of the marketplace” (i.e., resellers like

   Triplenet). (Id. at 10).

           In the Big Birds Case, Plaintiffs advanced the identical quality control arguments and,

   likewise, relied upon the testimony of Mr. McPherson. However, Judge Ebel, having “reviewed

   all of the quality controls Otter submitted to the Court” and relying “on the summary of those

   quality controls to which Kevin McPherson, Otter’s Senior Director of Brand Protection and

   Corporate Counsel, testified during his deposition,” found that “Otter’s quality controls are very

   general and ‘hardly set any standard at all.’” (Ebel Order at 16 (citing Iberia Foods Corp. v. Romeo,

   150 F.3d 298, 306 (3d Cir. 1998)). Judge Ebel recognized that “many of Otter’s quality controls

   are generic statements of industry standards,” and it would be up to the jury to consider whether,

   “as a whole, they are legitimate, substantial quality controls.” (Ebel Order at 17).

           Judge Ebel concluded that a jury could, just as well, find that the quality controls are not



                                                    9
Case 1:19-cv-00510-RMR-MEH Document 56 Filed 12/07/21 USDC Colorado Page 11 of 17




   substantial because they do not apply to the vast majority of authorized Otter product sales, just as

   Triplenet argued here (particularly, with respect to sales to the big retailers). This is because:

           Sixty percent of Otter’s cell-phone-case sales, for example, are made to cell phone
           carriers like Verizon and T-Mobile. Thirty percent of Otter’s cell-phone-case sales
           are to national retailers, like Best Buy, Target, Wal-Mart and Amazon. These larger
           sellers— the cell phone carriers and the national retailers-sign different contracts
           with Otter than Otter’s smaller sellers. It is not clear what the terms of those
           agreements with the larger sellers are with regard to compliance with Otter’s quality
           controls. Amazon’s first-party sales (that is, when Amazon itself sells the Otter
           product), which account for ten percent of Otter’s cell-phone-case sales, Otter
           asserts only that it sent its quality control guidelines to Amazon. There is evidence
           that Otter does not know how Amazon stores store Otter products.

   (Id.)

           With respect to the question of whether Plaintiffs’ quality controls were legitimate and

   pretextual, Judge Ebel was likewise skeptical. Just as Triplenet asserted here, Judge Ebel

   acknowledged that “Otter only weakly enforces its quality controls against its authorized sellers,

   but immediately after adopting these quality controls, began sending cease-and-desist letters to

   and suing unauthorized resellers who resell Otter products on Amazon.” (Id. at 18). This was

   “sufficient evidence” to warrant denial of summary judgment.

                      ii. There Are Factual Disputes as to Whether Plaintiffs Abide by the
                          Alleged Quality Controls

           The Court held that “Otter has produced evidence that it abides by [its] quality controls”

   and that Triplenet did not identify any evidence in opposition. (SJ Order at 11-12). Respectfully,

   it appears that the Court fell for Plaintiffs’ ruse, which relies on vague definitions to skirt the fact

   that most of their resellers do not abide by its quality controls. In their moving papers, Plaintiffs

   argued that their “Authorized Sellers” abide by the alleged quality controls. (See, e.g., ECF 41 at

   4 (explaining that “Authorized Sellers” are those resellers that agreed to Plaintiffs’ “terms”)). The



                                                     10
Case 1:19-cv-00510-RMR-MEH Document 56 Filed 12/07/21 USDC Colorado Page 12 of 17




   Court relied on such arguments in the SJ Order. (SJ Order at 11).

          But the Court misapprehended a key fact. Plaintiffs’ major resellers—Walmart, Best Buy,

   Target, Amazon—are not “Authorized Resellers.” (ECF 41-10, McPherson Tr. 9-10 (testifying

   that “Target, Wamart, Best Buy would buy from a large distributor, and we go inspect the

   distributor’s warehouses”)). They are simply “resellers” who follow their own protocols for

   storing and handling the products they sell (including Otter products). Plaintiffs produced zero

   evidence showing that all their resellers—particularly their major resellers—abide by their quality

   controls and conceded that they have no documentation to establish that the major retailers take

   any action with respect to the “actual safe handling and care” of Otter products. (Id. at 11:17-23).

   This was Plaintiffs’ burden, not Triplenet’s. Whether Plaintiffs have visited some retail stores to

   make sales calls, as the testimony cited by the Court states, tells us nothing about whether the

   retailers abide by the quality controls—why would they without any contractual obligation? These

   retailers carry thousands of brands (and dozens of brands of phone cases) and could not possibly

   structure their protocols for one insignificant vendor.

          Considering similar testimony and evidence, Judge Ebel concluded that “Otter only weakly

   enforces its quality controls,” thus, precluding summary judgment:

          Otter requires its approximately 4,900 smaller sellers and five secondary resellers
          to sign a contract agreeing to follow Otter’s quality controls. But Otter’s larger
          customers, which account for ninety percent of Otter’s cell-phone-case sales, are
          apparently not contractually obligated to follow Otter’s quality controls, or at least
          there is no evidence indicating that they are so obligated.

          As far as enforcing its quality controls, Otter has salespeople who visit the larger
          retailers and who ‘inspected their facilities or at least did a walkthrough.’ Once
          three Otter employees toured one Amazon distribution center in January 2019, but
          there is evidence that Otter is not certain how Amazon stores Otter products. …
          Otter further acknowledges that it has not yet inspected most of the premises of
          its 4,900 smaller sellers to insure compliance with Otter’s storage and handling


                                                    11
Case 1:19-cv-00510-RMR-MEH Document 56 Filed 12/07/21 USDC Colorado Page 13 of 17




          requirements … There is also evidence that, despite its quality controls precluding
          repackaging, Otter sometimes permits its secondary resellers to repackage Otter
          products shipped to them in bulk.

   (Ebel Order at 18-19).

                      iii. There Are Factual Disputes as to Whether Triplenet fails to comply or
                           interferes with Plaintiffs’ Alleged Quality Controls

          Plaintiffs were also required to establish that Triplenet either failed to abide by Plaintiffs’

   quality controls, or interfered with Plaintiffs’ ability to implement its quality controls. See

   Skullcandy, Inc. v. Filter USA, Inc., No. 2:18-CV-00748-DA, 2019 WL 2568010, at *7 (D. Utah

   June 21, 2019). Triplenet demonstrated that the proof is in the pudding:

          [D]efendant’s Amazon defect rating is far better than any of plaintiff’s authorized
          dealers. In fact, out of 36,585 of all items sold – not limited to Otter products –
          plaintiff received negative feedback (for whatever reason) from only 57 customers,
          a rating of .02% in all, thus, surpassing all of plaintiff’s authorized sellers.

   (ECF 44-1, Blackman Declaration Par. 10; Exhibit 19). The SJ Order does not address this

   evidence. By contrast, Judge Ebel found that the fact that “Big Birds has a higher customer

   feedback ranking on Amazon than Otter or its authorized Amazon sellers” (Ebel Order at 20), was

   sufficient to defeat summary judgment.

          Just as in the Big Birds Case, there are factual issues that preclude summary judgement on

   Plaintiffs’ quality control theory.

              c. Plaintiffs’ False Advertising Claim Should Proceed to Trial

          The SJ Order further granted a summary judgment on Plaintiffs’ false advertising claim.

   But the Court’s opinion on this claim relies on many of the disputed factual issues discussed above.

          The SJ Order found that “Otter has established that Triplenet made false or misleading

   statements of fact” because “[u]ncontradicted evidence establishes that the Otter Warranty does



                                                    12
Case 1:19-cv-00510-RMR-MEH Document 56 Filed 12/07/21 USDC Colorado Page 14 of 17




   not cover products sold by [Triplenet].” (SJ Order at 13-14). Whether a statement is false is a jury

   question. Healthpoint, Ltd. v. Stratus Pharms., Inc., 273 F. Supp. 2d 871, 889 (W.D. Tex. 2001).

   Here, “[a]s previously explained, there is a disputed issue of fact as to whether Otter actually

   honors warranty claims on products sold by unauthorized sellers like [Triplenet]. If so, [Triplenet]

   did not make a false statement.” (Ebel Order at 21).

          The Court also found that “Triplenet made literally false or misleading statements” by

   listing Otter products as “New” because, “[p]ursuant to Amazon’s policies, a ‘New’ product listing

   comes with the ‘original manufacturer’s warranty.’” (SJ Order at 14). Here too, the Court engaged

   in fact finding. Triplenet disputes Plaintiffs’ self-serving reading of Amazon’s policies. (ECF 44-

   1, Blackman Declaration Par. 13). Whether Otter products sold by third-parties are properly

   characterized as “new” or “used” “is a question for the jury to resolve.” (Ebel Order at 22).

          For the reasons stated above, Triplenet also disputed that Plaintiffs’ alleged warranty, even

   if not available, is material to consumers. The SJ Order credited Plaintiffs’ expert, but as discussed

   Dr. Cowan did not provide any opinions on the materiality of the warranty.               The survey

   respondents were never even told the warranty terms—how could they provide any feedback on

   its value?

                d. Summary Judgment on Plaintiffs’ CCPA Claim Should Have Been Denied
                   for the Same Reasons

          The SJ Order relied upon the same fact findings made in connection with Plaintiffs’

   trademark, unfair competition and false advertising claims in concluding that Triplenet violated

   that CCPA. “As previously explained, there are genuinely disputed issues of material fact as to

   whether [Triplenet] made material misrepresentations that the Otter products it was selling were

   covered by Otter’s manufacturer’s warranty.” (Ebel Order at 23).


                                                    13
Case 1:19-cv-00510-RMR-MEH Document 56 Filed 12/07/21 USDC Colorado Page 15 of 17




   V.     CONCLUSION

          For the foregoing reasons, each Defendant respectfully requests the Court reconsider and

   vacate the SJ Order, and allow this case to proceed to trial on all of Plaintiffs’ claims.



   Dated: December 7, 2021                                Respectfully submitted,

                                                          _____/s/__________________________
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                                                     14
Case 1:19-cv-00510-RMR-MEH Document 56 Filed 12/07/21 USDC Colorado Page 16 of 17




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                                                15
Case 1:19-cv-00510-RMR-MEH Document 56 Filed 12/07/21 USDC Colorado Page 17 of 17




                                CERTIFICATION OF CONFERRAL

   I do hereby certify that Triplenet made a good faith effort to confer with counsel for Plaintiffs
   before filing this motion. The undersigned spoke with counsel for Plaintiffs on the phone, on
   December 6, 2021. Plaintiffs counsel said that Plaintiffs would be opposing this motion.



                                        PROOF OF SERVICE


   I do hereby certify that a true and complete copy of the foregoing motion has been served by me
   on December 7, 2021, though the court’s electronic filing system upon:


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                                                         ______/s/________________________
                                                         /S/ SOLOMON E. ANTAR
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                                                    16
